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12 Attorneys for Plaintiffs,
     RONALD WESSON; LINDA R. BOHANON; PATRICIA A. CLARK; CAROLYN A.
13 WESSON; HAROLD WESSON; LARRY A. WESSON; and THEROLENE D. WESSON
14
                                UNITED STATES DISTRICT COURT
15
16
                               CENTRAL DISTRICT OF CALIFORNIA

17 RONALD WESSON, an individual and                 Case No.: 2:15-cv-07169
     successor in interest to KERRY E.          )
18
     WESSON, deceased; LINDA R.                     COMPLAINT FOR DAMAGES:
19   BOHANON, an individual and successor in
     interest to KERRY E. WESSON, deceased;         1. Survival Action: Violation of Civil
20   PATRICIA A. CLARK, an individual and              Rights Under 42 U.S.C. § 1983
21   successor in interest to KERRY E.              2. Wrongful Death: Violation of Civil
     WESSON, deceased; CAROLYN A.                      Rights Under 42 U.S.C. § 1983
22   WESSON, an individual and successor in         3. Survival Action: Violation of Civil
     interest to KERRY E. WESSON, deceased;            Rights Under 42 U.S.C. § 1983,
23
     HAROLD WESSON, an individual and                  Pursuant to Monell
24   successor in interest to KERRY E.              4. Wrongful Death: Violation of Civil
     WESSON, deceased; LARRY A. WESSON,                Rights Under 42 U.S.C. § 1983,
25   an individual and successor in interest to        Pursuant to Monell
26   KERRY E. WESSON, deceased; and                 5. Survival Action: Violation of Cal. Civ.
     THEROLENE D. WESSON, an individual                Code § 52.1
27   and successor in interest to KERRY E.          6. Survival Action: Assault
     WESSON, deceased,                              7. Survival Action: Battery
28
                                                    8. Survival Action: Willful Misconduct
                                                 –1–
                                        COMPLAINT FOR DAMAGES
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                          Plaintiffs,                 9. Wrongful Death: Willful Misconduct
 1
                                                      10. Survival Action: Negligence
 2         vs.                                        11. Wrongful Death: Negligence
                                                      12. Survival Action: Negligent Hiring,
 3 COUNTY OF LOS ANGELES, a municipal                     Training, Supervision, and Retention
 4 entity; LOS ANGELES COUNTY                         13. Wrongful Death: Negligent Hiring,
   SHERIFF’S DEPARTMENT, a public                         Training, Supervision, and Retention
 5 agency; and DOES 1 through 100, inclusive,
                                                      DEMAND FOR JURY TRIAL
 6
                          Defendants.
 7
 8         Plaintiffs, RONALD WESSON, LINDA R. BOHANON, PATRICIA A. CLARK,
 9   CAROLYN A. WESSON, HAROLD WESSON, LARRY A. WESSON, and THEROLENE
10 D. WESSON (hereinafter collectively “Plaintiffs”), hereby assert the following claims and
11 causes of action against Defendants, COUNTY OF LOS ANGELES, LOS ANGELES
12 COUNTY SHERIFF’S DEPARTMENT, and DOES 1 through 100, inclusive (hereinafter
13 collectively “Defendants”):
14                                      NATURE OF THE ACTION
15         1.      This is a civil action for the tragic personal injuries to and wrongful death of
16 KERRY E. WESSON (hereinafter the “Decedent”), caused by Defendants on August 26,
17 2014, in the County of Los Angeles, State of California.
18                                           JURISDICTION
19         2.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal
20 question) and § 1343(3) (civil rights).
21         3.      This Court has supplemental jurisdiction over Plaintiffs’ state law claims
22 pursuant to 28 U.S.C. § 1367, in that the state law claims are integrally interrelated with
23 Plaintiffs’ federal claims and arise from a common nucleus of operative facts, such that the
24 administration of Plaintiffs’ state law claims with their federal claims furthers the interest of
25 judicial economy.
26         4.      This Court also has personal jurisdiction over the Defendants in that each
27 Defendant is a citizen of and/or operates in the State of California.
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                                           COMPLAINT FOR DAMAGES
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 1                                                VENUE
 2          5.     This District is a proper venue pursuant to 28 U.S.C. § 1391 because Plaintiffs’
 3   claims herein arise out of an incident that occurred in the County of Los Angeles, State of
 4   California, within this Judicial District.
 5          6.     This District is further a proper venue because it has personal jurisdiction over
 6   the Defendants in that each Defendant resides and/or operates in this Judicial District.
 7                                            THE PARTIES
 8          7.     The Decedent, KERRY E. WESSON, was not married and had no children at
 9   the time of his premature death. Kerry E. Wesson is survived by his siblings and successors
10 in interest, Ronald Wesson, Linda R. Bohanon, Patricia A. Clark, Carolyn A. Wesson,
11 Harold Wesson, Larry A. Wesson, and Therolene D. Wesson.
12          8.     Plaintiff, RONALD WESSON, is, and at all relevant times has been, an
13 individual, and a resident of the County of Los Angeles, State of California. He is the
14 brother of and successor in interest to the Decedent.
15          9.     Plaintiff, LINDA R. BOHANON, is, and at all relevant times has been, an
16 individual, and a resident of the County of Los Angeles, State of California. She is the sister
17 of and successor in interest to the Decedent.
18          10.    Plaintiff, PATRICIA A. CLARK, is, and at all relevant times has been, an
19 individual, and a resident of the County of Los Angeles, State of California. She is the sister
20 of and successor in interest to the Decedent.
21          11.    Plaintiff, CAROLYN A. WESSON, is, and at all relevant times has been, an
22 individual, and a resident of the County of Los Angeles, State of California. She is the sister
23 of and successor in interest to the Decedent.
24          12.    Plaintiff, HAROLD WESSON, is, and at all relevant times has been, an
25 individual, and a resident of the County of San Bernardino, State of California. He is the
26 brother of and successor in interest to the Decedent.
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                                            COMPLAINT FOR DAMAGES
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 1          13.    Plaintiff, LARRY A. WESSON, is, and at all relevant times has been, an
 2   individual, and a resident of the County of Los Angeles, State of California. He is the
 3   brother of and successor in interest to the Decedent.
 4          14.    Plaintiff, THEROLENE D. WESSON, is, and at all relevant times has been, an
 5   individual, and a resident of the County of Los Angeles, State of California. She is the sister
 6   of and successor in interest to the Decedent.
 7          15.    Defendant, COUNTY OF LOS ANGELES, is, and at all relevant times has
 8   been, a municipal entity, operating pursuant to its Charter in the State of California. It is not
 9   an arm of the State of California for Eleventh Amendment purposes.
10          16.    Defendant, LOS ANGELES COUNTY SHERIFF’S DEPARTMENT, is, and
11 at all relevant times has been, a public agency, in the County of Los Angeles, State of
12 California. It is not an arm of the State of California for Eleventh Amendment purposes.
13          17.    Plaintiffs are ignorant of the true names and capacities of the Defendants sued
14 in this Complaint as Does 1 through 100, inclusive, and therefore sue these Defendants by
15 such fictitious names. Plaintiffs will amend this Complaint to allege the true names and
16 capacities of the Doe Defendants when ascertained. Plaintiffs are informed and believe, and
17 based thereon allege, that each of the Doe Defendants is responsible in some manner for the
18 occurrence, injury, and other damages alleged in this Complaint.
19          18.    Plaintiffs are informed and believe, and based thereon allege, that each
20 Defendant was in some manner responsible for the acts and damages alleged herein, and/or
21 are indebted to Plaintiffs as alleged herein. Plaintiffs are further informed and believe, and
22 based thereon allege, that each Defendant participated in the acts alleged herein and that, in
23 participating in such acts, each Defendant was the employee, agent, and/or co-conspirator of
24 each other Defendant, and was acting in the course and scope of such employment, agency,
25 and/or conspiracy.
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                                           COMPLAINT FOR DAMAGES
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 1         GENERAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION
 2   A. Allegations Regarding Policy and Practice.
 3          19.      Plaintiffs are informed and believe, and based thereon allege, that Defendants
 4   with deliberate indifference, gross negligence, and reckless disregard for the safety, security,
 5   and constitutional and statutory rights of the Decedent, Plaintiffs, and all persons similarly
 6   situated – maintained, enforced, tolerated, permitted, acquiesced in, and applied policies,
 7   practices, or customs and usages of, among other things:
 8                a. Subjecting citizens to unreasonable uses of force against their persons;
 9                b. Selecting, retaining, and assigning deputies with demonstrable propensities for
10 excessive force, violence, and other misconduct;
11                c. Failing to adequately train, supervise, and control deputies/officers in the arts
12 of law enforcement, including, without limitation, the taking into custody of persons such as
13 the Decedent, who are perhaps emotionally upset, but not otherwise engaged in criminal
14 activity, without seriously injuring or killing them;
15                d. Failing to adequately discipline deputies/officers involved in misconduct; and
16                e. Condoning and encouraging deputies/officers in the belief that they can violate
17 the rights of persons such as the Decedent in this action with impunity, and that such conduct
18 will not adversely affect their opportunities for promotion and other employment benefits.
19          20.      Plaintiffs are informed and believe, and based thereon allege, that Defendants
20 ordered, authorized, acquiesced in, tolerated, permitted or maintained custom and usages
21 permitting the other Defendants herein to engage in the unlawful and unconstitutional
22 actions, policies, practices, and customs or usages set forth in the foregoing paragraphs.
23 Defendants’ conduct as alleged herein constitutes a pattern of constitutional violations based
24 either on a deliberate plan by Defendants or on Defendants’ deliberate indifference, gross
25 negligence, or reckless disregard to the safety, security, and rights of the Decedent and
26 Plaintiffs.
27 ///
28 ///

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                                             COMPLAINT FOR DAMAGES
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 1   B. Allegations Regarding the Death of the Decedent, Kerry E. Wesson.
 2         21.    On or about August 26, 2014, sometime in the early afternoon, around
 3   approximately 1:00 p.m., the Defendants, through Los Angeles County Sheriff’s deputies,
 4   barricaded Decedent, Kerry E. Wesson, inside of his home, located at 12230 West Santa Fe
 5   Avenue, Apartment C, Lynwood, CA 90262.
 6         22.    Around the same time as the barricade, Decedent’s brother, Plaintiff Ronald
 7   Wesson, was driving out to visit him. During the drive, Plaintiff Ronald Wesson received a
 8   call from the Decedent, informing him that he was barricaded inside his home by deputies
 9   and had been shot. Plaintiff Ronald Wesson asked Decedent if Decedent would come out of
10 his home once Plaintiff Ronald Wesson arrived, and Decedent replied that he would, but
11 expressed severe concern that he did not think the herd of deputies outside would let Plaintiff
12 Ronald Wesson near his home. Decedent then told Plaintiff Ronald Wesson that he would
13 call Plaintiff Ronald Wesson back in a couple of minutes.
14         23.    As news of the incident spread, several of the other Plaintiffs in addition to
15 Plaintiff Ronald Wesson arrived at the scene, as well as Decedent’s fiancé. Once at the
16 scene, Plaintiffs found armored vehicles and countless patrol vehicles present.
17         24.    Plaintiff Ronald Wesson informed the Defendants immediately that the
18 Decedent was going to call him back soon. The Defendants, however, confiscated all of the
19 Decedent’s family members’ cell phones and refused to return them.
20         25.    The Plaintiffs and Decedent’s fiancé had not been present at the scene very
21 long, when the Defendants informed them that they had to leave. Accordingly, the
22 Defendants took Decedent’s family to a nearby Sheriff’s station. At the station, the Plaintiffs
23 were informed that the Defendants would attempt to get their brother out of the apartment
24 “alive.” For hours, however, Plaintiffs nervously and worriedly remained at the station
25 without any information as to what was occurring.
26         26.    In the interim, once Decedent’s family had been taken away from the scene,
27 the Defendants sent a battering ram to pull down the front metal door of the apartment.
28 Thereafter, the Defendants sent in a robot to scope out the apartment.

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                                         COMPLAINT FOR DAMAGES
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 1           27.      At some point in time after the robot was sent in, around approximately 4:30
 2   p.m., the Decedent attempted to come out of his apartment and was immediately shot to
 3   death by the Defendants. The cause of death was determined to be multiple gunshot wounds.
 4   C. Allegations Regarding Damages.
 5           28.      The Decedent sustained general damages, without limitation, including the loss
 6   of enjoyment of his life, in an amount in accordance with proof.
 7           29.      Plaintiffs have lost Decedent’s support, care, comfort, and society. Plaintiffs
 8   have suffered, without limitation, severe and substantial emotional and financial harm, in
 9   amounts in accordance with proof.
10           30.      The conduct of the individual Defendants was willful, malicious, oppressive
11 and in reckless disregard for the constitutional rights of the Decedent and Plaintiffs, thus
12 justifying punitive damages against the individual Defendants in an amount in accordance
13 with proof.
14 D. Allegations Regarding Plaintiffs’ Exhaustion of Administrative Remedies.
15           31.      Plaintiffs timely filed administrative claims with the County of Los Angeles
16 pursuant to Cal. Gov. Code § 910. Their claims were denied on March 11, 2015, and the
17 notices of denial were deposited in the mail on March 13, 2015.
18                                         CAUSES OF ACTION
19                                      FIRST CAUSE OF ACTION
20                Survival Action: Violation of Civil Rights Pursuant to 42 U.S.C. § 1983
21                      (By All Plaintiffs Against Defendants, Does 1 through 50)
22           1.       Plaintiffs reallege and incorporate each and every allegation contained in the
23 paragraphs above with the same force and effect as if said allegations were fully set forth
24 herein.
25           2.       The foregoing claim for relief arose in the Decedent’s favor, and the Decedent
26 would have been the Plaintiff with respect to this claim for relief had he lived.
27           3.       Plaintiffs are proper parties with standing as successors in interest of the
28 Decedent to pursue this claim of the Decedent based on a violation of his rights.

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                                             COMPLAINT FOR DAMAGES
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 1           4.      Defendants, Does 1 through 50, acting under the color of state law, deprived
 2   the Decedent of rights, privileges, and immunities secured by the Constitution and laws of
 3   the United States, including those enumerated in and secured by the Fourth and Fourteenth
 4   Amendments to the Constitution by, among other things, subjecting the Decedent to
 5   excessive force.
 6           5.      The Defendants’ wrongful acts alleged herein above were a cause of the death
 7   of the Decedent.
 8           6.      As a direct, legal, and proximate result of the foregoing wrongful acts of
 9   Defendants, and each of them, the Decedent sustained general damages, including pain and
10 suffering, and a loss of the enjoyment of life and other hedonic damages, in an amount in
11 accordance with proof.
12           7.      In doing the foregoing wrongful acts, Defendants, and each of them, acted in
13 reckless and callous disregard for the Constitutional rights of Decedent. The wrongful acts,
14 and each of them, were willful, oppressive, fraudulent, and malicious, thus warranting the
15 award of punitive damages against each individual Defendant in an amount adequate to
16 punish the wrongdoers and deter future misconduct.
17           8.      As further damage, Plaintiffs have and will incur attorneys’ fees, and pursuant
18 to 42 U.S.C. § 1988, are entitled to recover costs and fees in pursuing rights for a violation of
19 42 U.S.C. § 1983.
20                                   SECOND CAUSE OF ACTION
21                 Wrongful Death: Violation of Civil Rights Under 42 U.S.C. § 1983
22                      (By All Plaintiffs Against Defendants, Does 1 through 50)
23           9.      Plaintiffs reallege and incorporate each and every allegation contained in the
24 paragraphs above with the same force and effect as if said allegations were fully set forth
25 herein.
26           10.     Defendants, Does 1 through 50, acting under the color of state law, deprived
27 the Plaintiffs of their right to a familial relationship without due process of law by
28 Defendants’ use of unjustified force, causing injuries, which resulted in the Decedent’s

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                                            COMPLAINT FOR DAMAGES
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 1   death, all without provocation, all in violation of rights, privileges, and immunities secured
 2   by the First and Fourteenth Amendments to the United States Constitution.
 3           11.   As a direct, legal, and proximate result of the foregoing wrongful acts of
 4   Defendants, and each of them, Plaintiffs sustained general damages, including, but not
 5   limited to, grief, emotional distress, pain and suffering, loss of comfort and society, as well
 6   as special damages, including, but not limited to, loss of support, in an amount in accordance
 7   with proof.
 8           12.   In doing the foregoing wrongful acts, Defendants, and each of them, acted in
 9   reckless and callous disregard for the Constitutional rights of Plaintiffs. The wrongful acts,
10 and each of them, were willful, oppressive, fraudulent, and malicious, thus warranting the
11 award of punitive damages against each individual Defendant in an amount adequate to
12 punish the wrongdoers and deter future misconduct.
13           13.   As further damage, Plaintiffs have and will incur attorneys’ fees, and pursuant
14 to 42 U.S.C. § 1988, are entitled to recover costs and fees in pursuing rights for a violation of
15 42 U.S.C. § 1983.
16                                   THIRD CAUSE OF ACTION
17            Survival Action: Violation of Civil Rights Pursuant to 42 U.S.C. § 1983,
18                                        Pursuant to Monell
19       (By All Plaintiffs Against Defendants, County of Los Angeles; Los Angeles County
20                        Sheriff’s Department; and Does 51 through 100)
21           14.   Plaintiffs reallege and incorporate each and every allegation contained in the
22 paragraphs above with the same force and effect as if said allegations were fully set forth
23 herein.
24           15.   The foregoing claim for relief arose in the Decedent’s favor, and the Decedent
25 would have been the Plaintiff with respect to this claim for relief had he lived.
26           16.   Plaintiffs are proper parties with standing as successors in interest of the
27 Decedent to pursue this claim of the Decedent based on a violation of his rights.
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                                           COMPLAINT FOR DAMAGES
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 1          17.    Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
 2   Does 51 through 100, knowingly and with gross negligence, maintain and permit official
 3   policies and customs, which allow the occurrence of the types of wrongs set forth
 4   hereinabove, all in deliberate indifference to the Constitutional rights of citizens.
 5          18.    These policies and customs include, but are not limited to, the deliberately
 6   indifferent training of its law enforcement deputies/officers related to the use of force, the
 7   contact with detainees in the field and the regard for the personal safety of a detainee or
 8   arrestee. The Defendants’ lack of training and deliberate indifference to individual rights
 9   places individuals in dangerous situations and causes the use of excessive and unnecessary
10 force. Further, the Defendants’ ratification of police misconduct, along with the failure to
11 conduct adequate investigations of misconduct, lead to the violations of the Decedent’s and
12 Plaintiffs’ Constitutional rights.
13          19.    The Defendants’ wrongful acts alleged herein above were a cause of the death
14 of the Decedent.
15          20.    As a direct, legal, and proximate result of the foregoing wrongful acts of
16 Defendants, and each of them, the Decedent sustained general damages, including pain and
17 suffering, and a loss of the enjoyment of life and other hedonic damages, in an amount in
18 accordance with proof.
19          21.    Furthermore, in spite of Plaintiffs’ filing of a claim with the County of Los
20 Angeles, the Defendants failed to investigate, or take any action in preserving Plaintiffs’
21 rights, or verify misconduct and discipline deputies/officers for the misconduct.
22          22.    Plaintiffs are informed and believe, and based thereon allege, that the customs
23 and policies were the moving force behind the violations of Decedent’s and Plaintiffs’ rights.
24 Based upon the principles set forth in Monell v. New York City Dept. of Social Services
25 (1978) 436 U.S. 658, the Defendants are liable for all of the injuries sustained by Decedent
26 and Plaintiffs as set forth above.
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                                           COMPLAINT FOR DAMAGES
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 1           23.     As further damage, Plaintiffs have and will incur attorneys’ fees, and pursuant
 2   to 42 U.S.C. § 1988, are entitled to recover costs and fees in pursuing rights for a violation of
 3   42 U.S.C. § 1983.
 4                                   FOURTH CAUSE OF ACTION
 5                 Wrongful Death: Violation of Civil Rights Under 42 U.S.C. § 1983,
 6                                          Pursuant to Monell
 7      (By All Plaintiffs Against Defendants, County of Los Angeles; Los Angeles County
 8                          Sheriff’s Department; and Does 51 through 100)
 9           24.     Plaintiffs reallege and incorporate each and every allegation contained in the
10 paragraphs above with the same force and effect as if said allegations were fully set forth
11 herein.
12           25.     Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
13 Does 51 through 100, knowingly and with gross negligence, maintain and permit official
14 policies and customs, which allow the occurrence of the types of wrongs set forth
15 hereinabove, all in deliberate indifference to the Constitutional rights of citizens.
16           26.     These policies and customs include, but are not limited to, the deliberately
17 indifferent training of its law enforcement deputies/officers related to the use of force, the
18 contact with detainees in the field and the regard for the personal safety of a detainee or
19 arrestee. The Defendants’ lack of training and deliberate indifference to individual rights
20 places individuals in dangerous situations and causes the use of excessive and unnecessary
21 force. Further, the Defendants’ ratification of police misconduct, along with the failure to
22 conduct adequate investigations of misconduct, lead to the violations of the Decedent’s and
23 Plaintiffs’ Constitutional rights.
24           27.     The Defendants’ wrongful acts alleged herein above were a cause of the death
25 of the Decedent.
26           28.     In spite of Plaintiffs’ filing of a claim with the County of Los Angeles, the
27 Defendants failed to investigate, or take any action in preserving Plaintiffs’ rights, or verify
28 misconduct and discipline deputies/officers for the misconduct.

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                                            COMPLAINT FOR DAMAGES
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 1           29.   Plaintiffs are informed and believe, and based thereon allege, that the customs
 2   and policies were the moving force behind the violations of Decedent’s and Plaintiffs’ rights.
 3   Based upon the principles set forth in Monell v. New York City Dept. of Social Services
 4   (1978) 436 U.S. 658, the Defendants are liable for all of the injuries sustained by Plaintiffs as
 5   set forth above.
 6           30.   As a direct, legal, and proximate result of the foregoing wrongful acts of
 7   Defendants, and each of them, Plaintiffs sustained general damages, including, but not
 8   limited to, grief, emotional distress, pain and suffering, loss of comfort and society, as well
 9   as special damages, including, but not limited to, loss of support, in an amount in accordance
10 with proof.
11           31.   As further damage, Plaintiffs have and will incur attorneys’ fees, and pursuant
12 to 42 U.S.C. § 1988, are entitled to recover costs and fees in pursuing rights for a violation of
13 42 U.S.C. § 1983.
14                                   FIFTH CAUSE OF ACTION
15                       Survival Action: Violation of Cal. Civ. Code § 52.1
16                            (By All Plaintiffs Against All Defendants)
17           32.   Plaintiffs reallege and incorporate each and every allegation contained in the
18 paragraphs above with the same force and effect as if said allegations were fully set forth
19 herein.
20           33.   Defendants, Does 1-50, acting within the scope of their duties for Defendants,
21 County of Los Angeles, Los Angeles Sheriff’s Department, and Does 51-100, shot and killed
22 Decedent.
23           34.   Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
24 Does 51-100, are liable for the acts, omissions, and conduct of its employees, including
25 Defendants herein, whose conduct was a cause in the death of the Decedent, pursuant to
26 California Government Code, Section 815.2.
27           35.   The foregoing claim for relief arose in the Decedent’s favor, and the Decedent
28 would have been the Plaintiff with respect to this claim for relief had he lived.

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                                           COMPLAINT FOR DAMAGES
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 1           36.   Plaintiffs are proper parties with standing as successors in interest of the
 2   Decedent to pursue this claim of the Decedent based on a violation of his rights.
 3           37.   The conduct of Defendants constituted interference by threats, intimidation, or
 4   coercion, or attempted interference, with the exercise of enjoyment by Decedent of rights
 5   secured by the Constitution and laws of the United States, and/or secured by the Constitution
 6   and laws of the State of California, including interference with Decedent’s rights to be secure
 7   in his person and free from the use of excessive force under the United States Constitution,
 8   Amendment IV, California Constitution, Article I, Section 13, as well as California Civil
 9   Code, Section 43.
10           38.   As a direct cause of Defendants’ conduct, the Decedent’s rights pursuant to
11 California Civil Code, Section 52.1 were violated, causing injuries and damages, in an
12 amount in accordance with proof.
13           39.   As further damage, Plaintiffs have and will incur attorneys’ fees, and pursuant
14 to California Civil Code, Section 52.1 are entitled to recover said fees.
15                                  SIXTH CAUSE OF ACTION
16                                     Survival Action: Assault
17                            (By All Plaintiffs Against All Defendants)
18           40.   Plaintiffs reallege and incorporate each and every allegation contained in the
19 paragraphs above with the same force and effect as if said allegations were fully set forth
20 herein.
21           41.   Defendants, Does 1-50, acting within the scope of their duties for Defendants,
22 County of Los Angeles, Los Angeles Sheriff’s Department, and Does 51-100, shot and killed
23 Decedent.
24           42.   Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
25 Does 51-100, are liable for the acts, omissions, and conduct of its employees, including
26 Defendants herein, whose conduct was a cause in the death of the Decedent, pursuant to
27 California Government Code, Section 815.2.
28 ///

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                                          COMPLAINT FOR DAMAGES
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 1           43.   The foregoing claim for relief arose in the Decedent’s favor, and the Decedent
 2   would have been the Plaintiff with respect to this claim for relief had he lived.
 3           44.   Plaintiffs are proper parties with standing as successors in interest of the
 4   Decedent to pursue this claim of the Decedent based on a violation of his rights.
 5           45.   Defendants acted with the intent to create a reasonable apprehension of
 6   imminent harm that was harmful and/or offensive, thereby assaulting the Decedent and
 7   causing his death.
 8           46.   As a direct and proximate cause of the aforementioned acts of Defendants,
 9   Decedent was injured as set forth above, causing damages, including compensatory and
10 punitive damages, in an amount according to proof.
11                                SEVENTH CAUSE OF ACTION
12                                     Survival Action: Battery
13                            (By All Plaintiffs Against All Defendants)
14           47.   Plaintiffs reallege and incorporate each and every allegation contained in the
15 paragraphs above with the same force and effect as if said allegations were fully set forth
16 herein.
17           48.   Defendants, Does 1-50, acting within the scope of their duties for Defendants,
18 County of Los Angeles, Los Angeles Sheriff’s Department, and Does 51-100, shot and killed
19 Decedent.
20           49.   Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
21 Does 51-100, are liable for the acts, omissions, and conduct of its employees, including
22 Defendants herein, whose conduct was a cause in the death of the Decedent, pursuant to
23 California Government Code, Section 815.2.
24           50.   The foregoing claim for relief arose in the Decedent’s favor, and the Decedent
25 would have been the Plaintiff with respect to this claim for relief had he lived.
26           51.   Plaintiffs are proper parties with standing as successors in interest of the
27 Decedent to pursue this claim of the Decedent based on a violation of his rights.
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 1           52.   Defendants intended to harm the Decedent, thereby battering him and causing
 2   his death.
 3           53.   As a direct and proximate cause of the aforementioned acts of Defendants,
 4   Decedent was injured as set forth above, causing damages, including compensatory and
 5   punitive damages, in an amount according to proof.
 6                                 EIGHTH CAUSE OF ACTION
 7                               Survival Action: Willful Misconduct
 8                              (By Plaintiffs Against all Defendants)
 9           54.   Plaintiffs reallege and incorporate each and every allegation contained in the
10 paragraphs above with the same force and effect as if said allegations were fully set forth
11 herein.
12           55.   Defendants, Does 1-50, acting within the scope of their duties for Defendants,
13 County of Los Angeles, Los Angeles Sheriff’s Department, and Does 51-100, shot and killed
14 Decedent.
15           56.   Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
16 Does 51-100, are liable for the acts, omissions, and conduct of its employees, including
17 Defendants herein, whose conduct was a cause in the death of the Decedent, pursuant to
18 California Government Code, Section 815.2.
19           57.   The foregoing claim for relief arose in the Decedent’s favor, and the Decedent
20 would have been the Plaintiff with respect to this claim for relief had he lived.
21           58.   Plaintiffs are proper parties with standing as successors in interest of the
22 Decedent to pursue this claim of the Decedent based on a violation of his rights.
23           59.   Defendants intentionally acted with willful and wanton disregard in dealing
24 with Decedent on August 26, 2014, in an unreasonable and dangerous manner, in that they
25 knew or should have know of the high probable that harm would result to Decedent.
26           60.   As a direct and proximate cause of the aforementioned acts of Defendants,
27 Decedent was injured as set forth above, causing damages, in an amount in accordance to
28 proof.

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 1                                    NINTH CAUSE OF ACTION
 2                                Wrongful Death: Willful Misconduct
 3                                (By Plaintiffs Against all Defendants)
 4             61.   Plaintiffs reallege and incorporate each and every allegation contained in the
 5   paragraphs above with the same force and effect as if said allegations were fully set forth
 6   herein.
 7             62.   Defendants, Does 1-50, acting within the scope of their duties for Defendants,
 8   County of Los Angeles, Los Angeles Sheriff’s Department, and Does 51-100, shot and killed
 9   Decedent.
10             63.   Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
11 Does 51-100, are liable for the acts, omissions, and conduct of its employees, including
12 Defendants herein, whose conduct was a cause in the death of the Decedent, pursuant to
13 California Government Code, Section 815.2.
14             64.   Defendants intentionally acted with willful and wanton disregard in dealing
15 with Decedent on August 26, 2014, in an unreasonable and dangerous manner, in that they
16 knew or should have know of the high probable that harm would result to Decedent.
17 Accordingly, Defendants’ willful misconduct caused Decedent’s death.
18             65.   Plaintiffs are proper parties with standing pursuant to California Code of Civil
19 Procedure, Section 377.60, and hereby pursue their remedies for wrongful death against
20 Defendants, and each of them, including pecuniary loss and other compensable injuries
21 resulting from the loss of society, comfort, attention, services, and support of the Decedent.
22             66.   Decedent was a faithful and dutiful brother to Plaintiffs, and his loss has and
23 will continue to cause great and severe damages to Plaintiffs, all in an amount in accordance
24 with proof.
25             67.   As a further direct result of the Defendants’ acts, omissions, negligent conduct,
26 and/or reckless disregard for the safety of Decedent, Plaintiffs have incurred funeral and
27 burial expenses in an amount in accordance with proof.
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                                            COMPLAINT FOR DAMAGES
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 1             68.   As a further direct result of the Defendants’ acts, omissions, negligent conduct,
 2   and/or reckless disregard for the safety of Decedent, Plaintiffs have incurred medical bills
 3   and other incidental costs and expenses, in an amount in accordance with proof.
 4                                    TENTH CAUSE OF ACTION
 5                                     Survival Action: Negligence
 6                              (By All Plaintiffs Against All Defendants)
 7             69.   Plaintiffs reallege and incorporate each and every allegation contained in the
 8   paragraphs above with the same force and effect as if said allegations were fully set forth
 9   herein.
10             70.   Defendants, Does 1-50, acting within the scope of their duties for Defendants,
11 County of Los Angeles, Los Angeles Sheriff’s Department, and Does 51-100, shot and killed
12 Decedent.
13             71.   Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
14 Does 51-100, are liable for the acts, omissions, and conduct of its employees, including
15 Defendants herein, whose conduct was a cause in the death of the Decedent, pursuant to
16 California Government Code, Section 815.2.
17             72.   The foregoing claim for relief arose in the Decedent’s favor, and the Decedent
18 would have been the Plaintiff with respect to this claim for relief had he lived.
19             73.   Plaintiffs are proper parties with standing as successors in interest of the
20 Decedent to pursue this claim of the Decedent based on a violation of his rights.
21             74.   Defendants owed Decedent a duty of due care, and that duty was breached by
22 Defendants’ negligence and failure to exercise due care in dealing with the Decedent on
23 August 26, 2014.
24             75.   As a direct and proximate cause of the aforementioned acts of Defendants,
25 Decedent was injured as set forth above, causing damages, in an amount in accordance to
26 proof.
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                                            COMPLAINT FOR DAMAGES
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 1                                 ELEVENTH CAUSE OF ACTION
 2                                     Wrongful Death: Negligence
 3                              (By All Plaintiffs Against All Defendants)
 4             76.   Plaintiffs reallege and incorporate each and every allegation contained in the
 5   paragraphs above with the same force and effect as if said allegations were fully set forth
 6   herein.
 7             77.   Defendants, Does 1-50, acting within the scope of their duties for Defendants,
 8   County of Los Angeles, Los Angeles Sheriff’s Department, and Does 51-100, shot and killed
 9   Decedent.
10             78.   Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
11 Does 51-100, are liable for the acts, omissions, and conduct of its employees, including
12 Defendants herein, whose conduct was a cause in the death of the Decedent, pursuant to
13 California Government Code, Section 815.2.
14             79.   Defendants owed Decedent a duty of due care, and that duty was breached by
15 Defendants’ negligence and failure to exercise due care in dealing with the Decedent on
16 August 26, 2014. Accordingly, Defendants’ negligence caused Decedent’s death.
17             80.   Plaintiffs are proper parties with standing pursuant to California Code of Civil
18 Procedure, Section 377.60, and hereby pursue their remedies for wrongful death against
19 Defendants, and each of them, including pecuniary loss and other compensable injuries
20 resulting from the loss of society, comfort, attention, services, and support of the Decedent.
21             81.   Decedent was a faithful and dutiful brother to Plaintiffs, and his loss has and
22 will continue to cause great and severe damages to Plaintiffs, all in an amount in accordance
23 with proof.
24             82.   As a further direct result of the Defendants’ acts, omissions, negligent conduct,
25 and/or reckless disregard for the safety of Decedent, Plaintiffs have incurred funeral and
26 burial expenses in an amount in accordance with proof.
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 1           83.   As a further direct result of the Defendants’ acts, omissions, negligent conduct,
 2   and/or reckless disregard for the safety of Decedent, Plaintiffs have incurred medical bills
 3   and other incidental costs and expenses, in an amount in accordance with proof.
 4                                TWELFTH CAUSE OF ACTION
 5          Survival Action: Negligent Hiring, Training, Supervision, and/or Retention
 6       (By All Plaintiffs Against Defendants, County of Los Angeles; Los Angeles County
 7                        Sheriff’s Department; and Does 51 through 100)
 8           84.   Plaintiffs reallege and incorporate each and every allegation contained in the
 9   paragraphs above with the same force and effect as if said allegations were fully set forth
10 herein.
11           85.   Defendants, Does 1-50, acting within the scope of their duties for Defendants,
12 County of Los Angeles, Los Angeles Sheriff’s Department, and Does 51-100, shot and killed
13 Decedent.
14           86.   Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
15 Does 51-100, are liable for the acts, omissions, and conduct of its employees, including
16 Defendants herein, whose conduct was a cause in the death of the Decedent, pursuant to
17 California Government Code, Section 815.2.
18           87.   The foregoing claim for relief arose in the Decedent’s favor, and the Decedent
19 would have been the Plaintiff with respect to this claim for relief had he lived.
20           88.   Plaintiffs are proper parties with standing as successors in interest of the
21 Decedent to pursue this claim of the Decedent based on a violation of his rights.
22           89.   Defendants owed a duty of care to all reasonably foreseeable people, including
23 Decedent. Defendants breached their duties of care by failing to use reasonable care in
24 hiring, training, supervising, and/or retaining Does 1 through 50, who shot and killed
25 Decedent. Defendants knew or should have known that Does 1 through 50 were
26 incompetent and unfit for their duties.
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 1            90.   As a direct and proximate cause of the aforementioned acts of Defendants,
 2   Decedent was injured as set forth above, causing damages, in an amount in accordance to
 3   proof.
 4                              THIRTEENTH CAUSE OF ACTION
 5            Wrongful Death: Negligent Hiring, Training, Supervision, and/or Retention
 6       (By All Plaintiffs Against Defendants, County of Los Angeles; Los Angeles County
 7                         Sheriff’s Department; and Does 51 through 100)
 8            1.    Plaintiffs reallege and incorporate each and every allegation contained in the
 9   paragraphs above with the same force and effect as if said allegations were fully set forth
10 herein.
11            2.    Defendants, Does 1-50, acting within the scope of their duties for Defendants,
12 County of Los Angeles, Los Angeles Sheriff’s Department, and Does 51-100, shot and killed
13 Decedent.
14            3.    Defendants, County of Los Angeles, Los Angeles Sheriff’s Department, and
15 Does 51-100, are liable for the acts, omissions, and conduct of its employees, including
16 Defendants herein, whose conduct was a cause in the death of the Decedent, pursuant to
17 California Government Code, Section 815.2.
18            4.    Defendants owed a duty of care to all reasonably foreseeable people, including
19 Decedent. Defendants breached their duties of care by failing to use reasonable care in
20 hiring, training, supervising, and/or retaining Does 1 through 50, who shot and killed
21 Decedent. Defendants knew or should have known that Does 1 through 50 were
22 incompetent and unfit for their duties. Defendants’ negligence was a substantial factor in
23 causing Decedent’s death.
24            91.   Plaintiffs are proper parties with standing pursuant to California Code of Civil
25 Procedure, Section 377.60, and hereby pursue their remedies for wrongful death against
26 Defendants, and each of them, including pecuniary loss and other compensable injuries
27 resulting from the loss of society, comfort, attention, services, and support of the Decedent.
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 1          92.    Decedent was a faithful and dutiful brother to Plaintiffs, and his loss has and
 2   will continue to cause great and severe damages to Plaintiffs, all in an amount in accordance
 3   with proof.
 4          93.    As a further direct result of the Defendants’ acts, omissions, negligent conduct,
 5   and/or reckless disregard for the safety of Decedent, Plaintiffs have incurred funeral and
 6   burial expenses in an amount in accordance with proof.
 7          94.    As a further direct result of the Defendants’ acts, omissions, negligent conduct,
 8   and/or reckless disregard for the safety of Decedent, Plaintiffs have incurred medical bills
 9   and other incidental costs and expenses, in an amount in accordance with proof.
10                                     PRAYER FOR RELIEF
11          WHEREFORE, Plaintiffs pray for judgment as follows:
12          5.     For general damages in an amount according to proof;
13          6.     For special damages in an amount according to proof;
14          7.     For punitive damages against the individual Defendants in their individual
15 capacities, in an amount according to proof;
16          8.     For costs of suit incurred herein;
17          9.     For reasonable attorneys’ fees incurred herein, as provided by law;
18          10.    For such other and further relief as the Court may deem just and proper.
19
      Dated: September 9, 2015                            KOSHKARYAN LAW GROUP, P.C.
20                                                        SYNERGY LAW GROUP, INC.
21
22
                                                    By:
23                                                        MARSELIN S. KOSHKARYAN
                                                          Attorneys for Plaintiffs,
24
                                                          RONALD WESSON; LINDA R.
25                                                        BOHANON; PATRICIA A. CLARK;
                                                          CAROLYN A. WESSON; HAROLD
26                                                        WESSON; LARRY A. WESSON; and
27                                                        THEROLENE D. WESSON

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 1                                    DEMAND FOR JURY TRIAL
 2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby
 3   request a trial by jury on all issues triable by a jury in this action.
 4
      Dated: September 9, 2015                               KOSHKARYAN LAW GROUP, P.C.
 5
                                                             SYNERGY LAW GROUP, INC.
 6
 7
 8                                                    By:
                                                             MARSELIN S. KOSHKARYAN
 9                                                           Attorneys for Plaintiffs,
                                                             RONALD WESSON; LINDA R.
10
                                                             BOHANON; PATRICIA A. CLARK;
11                                                           CAROLYN A. WESSON; HAROLD
                                                             WESSON; LARRY A. WESSON; and
12                                                           THEROLENE D. WESSON
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                                             DEMAND FOR JURY TRIAL
